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            EXHIBIT C
   Redacted Version of
Document Sought to Be Filed
       Under Seal
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June 14, 2022


VIA E-MAIL

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Re:    In re Facebook, Inc. Consumer Privacy User Profile Litigation

Dear Lesley and Derek:

       This letter addresses the May 19, 2022 Rule 30(b)(6) deposition of Facebook’s
corporate representative Amy Lee and responds to Plaintiffs’ May 26 letter.

        At the Case Management Conference held on June 9, Judge Chhabria ordered the
parties to complete Rule 30(b)(6) testimony by June 30, except for Rule 30(b)(6) Topics 5
and 9, and Rule 30(b)(6) testimony relating to advertising. Judge Chhabria further ordered
Facebook to complete its production of financial documents by July 1. So the parties can meet
the June 30 deadline for Topic 10 and the July 1 deadline for production of financial
documents, and work immediately to resolve any disputes, including—if necessary—through
mediation, we request a meet and confer on June 15 to discuss the scope of additional
testimony, if any, that Facebook will provide on Topic 10, and any additional financial
documents Facebook will produce.

A.     Ms. Lee Was Adequately Prepared to Testify About Topic 10.

        As we explained in our May 18 correspondence, Ms. Lee was prepared to testify at her
May 19 deposition about Topic 10 in Plaintiffs’ March 1, 2022 second amended Rule 30(b)(6)
notice to Facebook. Topic 10 seeks testimony regarding “Facebook’s calculation of revenues,
gross profits, and net profits recognized by Facebook relating to Users’ Data or Information,
including but not limited to how Facebook monetized User Data or Information, how Facebook
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quantified the value of sharing User Data or Information, and Facebook’s business and
marketing strategy regarding the monetization and quantification of User Data or
Information.” Accordingly, Facebook prepared Ms. Lee to testify about:

   •   How Facebook generates revenue through products (primarily advertising
       products) that utilize Facebook user data;
   •   The “value” of user data, which exists in the context of Facebook’s advertising
       products;
   •   Facebook’s business and marketing strategies related to revenue generation
       through products (primarily advertising products) that utilize Facebook user
       data;
   •   Key business metrics related to Facebook users, including engagement metrics
       (e.g., DAU/MAU) and revenue metrics (e.g., ARPU);
   •   Facebook’s calculation of revenue and profits, including revenue and profits
       generated through products (primarily advertising products) that utilize
       Facebook user data;
   •   Facebook’s 2012 IPO Prospectus and periodic Form 10-K and Form 10-Q
       filings with the SEC, as they relate to (i) revenue generated through products
       (primarily advertising products) that utilize Facebook user data, and (ii) key
       business metrics related to Facebook users;
   •   Documents shared by Plaintiffs in advance of Ms. Lee’s deposition; and
   •   The following documents: FB-CA-MDL-01994705, FB-CA-MDL-02130372,
       FB-CA-MDL-01750523 (attachment at FB-CA-MDL-01750529), FB-CA-
       MDL-02335850 (attachment at FB-CA-MDL-02335852), FB-CA-MDL-
       02175536, FB-CA-MDL-02320097, FB-CA-MDL-02543690, and FB-CA-
       MDL-02936308.

       Ms. Lee’s preparation was extensive, lasting approximately 20 hours over ten
preparation sessions. Ms. Lee also met with several other knowledgeable employees in
preparation for her deposition, including Bonnie Ng, Justin Osofsky, and Seethalakshmi
Sethuraman. Ms. Lee provided significant testimony relating to Topic 10.

       As a result of these efforts, Ms. Lee was prepared for and testified about at least the
following topics that were within the scope of Topic 10:

   •   Key business metrics related to Facebook users, including engagement metrics
       (e.g., DAU/MAU) and revenue metrics (e.g., ARPU). See Lee 30(b)(6) Tr. at
       35:2–36:23, 37:4–40:11, 44:19–46:11.
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document. The source(s) of the data used to compute these monetization metrics, however, is
a records topic and is beyond the scope of the topic on which Ms. Lee was designated to testify.
Plaintiffs similarly suggested that Ms. Lee was unprepared to testify about Exhibit 360 because
she did know the underlying source(s) of the data used to create the document, see id. at 20:10–
22:1, 53:16–54:3, and that Ms. Lee was unprepared to testify about Exhibit 374 because she
could not identify the location(s) of data used to calculate the revenue impact of restricting
third parties’ access to data. See id. at 197:7–22. Again, the source(s) and location(s) of data
are outside the scope of Topic 10, which seeks testimony about monetization—not Facebook’s
corporate recordkeeping.

       At bottom, Ms. Lee was prepared to testify about Topic 10 and did so fully and
completely when Plaintiffs’ questioning was in scope. But a substantial portion of Plaintiffs’
questioning strayed well beyond the scope of Topic 10 and thus beyond the scope of what
Ms. Lee was designated to testify about.

B.     Response to Plaintiffs’ May 26, 2022 Letter.

       In your letter dated May 26, 2022, Plaintiffs request that Facebook search for and
produce certain additional financial documents, and provide additional testimony on additional
subjects purportedly within the scope of Topic 10.

       1.      Plaintiffs’ request for production of additional financial documents.

        The parties’ discussions regarding Facebook’s production of additional financial
information have been ongoing for some time. Beginning as early as 2020, Plaintiffs requested
that Facebook produce documents reflecting the “value” of user data. As we informed you on
numerous occasions, Facebook does not assign a value to user data, and therefore, it does not
have documents reflecting the “value” of user data. When Plaintiffs raised this issue to Judge
Corley in December 2020, Judge Corley permitted Plaintiffs to take a first Rule 30(b)(6)
deposition of Facebook regarding monetization, so that Plaintiffs could issue “narrowed”
requests for financial documents.

       Although Plaintiffs took a monetization-focused Rule 30(b)(6) deposition of Facebook
in February 2021, they did not issue “narrowed” financial requests until a year later, in
February 2022. In March 2022, Facebook agreed to conduct a reasonable search for
documents falling into the seven discrete categories plaintiffs identified, even though none of
those documents reflect the “value” of user data. Between April 15 and May 6, 2022,
Facebook produced more than 6,500 documents falling into one or more of Plaintiffs’ seven
categories. The Bates numbers of the documents Facebook produced between April 15 and
May 6 as a result of this additional search are listed on Exhibit A to this letter.
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        Facebook’s production of financial information covers some of the very same
categories of documents requested in Plaintiffs’ May 26 letter. For example, Plaintiffs request
that Facebook produce a quarterly revenue report similar to Exhibit 364 for all the months in
the Class Period. Between April 15 and May 6, Facebook produced more than 150 similar
reports covering at least the time period between February 2010 and May 2016. See, e.g., FB-
CA-MDL-03124536, FB-CA-MDL-03123639, FB-CA-MDL-03126101, FB-CA-MDL-
03125307, FB-CA-MDL-03126919, FB-CA-MDL-03125929. Facebook is evaluating
whether additional reports exist outside the time period for which documents already have
been produced. To the extent incremental additional documents are identified, Facebook will
produce them.

       Plaintiffs also request the source documents used in the calculation of Exhibit 372 and
documents related to Facebook’s assessment and decision-making regarding deprecating
Partner Categories and the measurement categories Ms. Lee testified to in connection with
Exhibit 372. We are working to identify whether and to what extent these documents exist
and are responsive to Plaintiffs’ document requests. If our search identifies any incremental
non-privileged, responsive documents, we will produce them.

       Plaintiffs also request documents sufficient to identify the revenue impact of cutting
off access to third-party companies that received RFIs as part of the ADI process, including
but not limited to the companies identified in Exhibit 373. Please explain why Plaintiffs
believe this request is not already adequately covered by Facebook’s ongoing search for, and
production of, ADI-related materials.

        Plaintiffs also request documents relating to Facebook’s analysis of the revenue
impacts of “any changes” implemented after Cambridge Analytica’s activities with respect to
Facebook user data came to light. This is an extremely broad and vague request. Moreover,
we would expect documents reflecting analyses of revenue impacts resulting from changes
implemented in response to the Cambridge Analytica events to be fully covered by Facebook’s
prior document production, which used several Cambridge Analytica-related search strings to
identify potentially responsive documents. Facebook is willing to meet and confer with
Plaintiffs, including through discovery mediation, about why Plaintiffs believe this request is
not already adequately covered by Facebook’s prior production and to otherwise discuss a
possible resolution of this issue.

       Plaintiffs also request documents relating to payments that Facebook has made or is
making to any third parties for user data or “information derivative of user data.” As we have
explained above, programs in which Facebook purportedly paid for user data are not within
the scope of Topic 10, which relates to how Facebook monetizes its business through products
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that utilize user data—not how third parties monetize data by making it available to Facebook,
or how Facebook compensates users for time associated with completing research tasks.
Further, we would expect documents regarding Onavo in particular to be covered by
Facebook’s prior document production, which used at least one Onavo-related search string
(PL-9, applied to custodian groups 5-8) to identify potentially responsive documents.
Nonetheless, Facebook is willing to meet and confer with Plaintiffs about the extent to which
Plaintiffs believe this request is not adequately covered by Facebook’s prior production and
how Facebook reasonably can search for additional non-privileged documents responsive to
Plaintiffs’ request by the Court’s July 1 deadline.

        Plaintiffs also seek the creation for the entire class period of a document similar to the
document Facebook prepared and produced prior to Ms. Lee’s February 2021 Rule 30(b)(6)
deposition. Creating a new document solely for the purposes of discovery is beyond the scope
of Rule 34 of the Federal Rules of Civil Procedure. Facebook further directs Plaintiffs to the
numerous substantially similar documents it already has produced that cover other portions of
the class period back to 2010, which is as far back as Facebook maintains similarly granular
revenue information. See, e.g., FB-CA-MDL-03113809, FB-CA-MDL-03113814, FB-CA-
MDL-03113819,          FB-CA-MDL-03113883,           FB-CA-MDL-03113848,          FB-CA-MDL-
03114341, FB-CA-MDL-03114552, FB-CA-MDL-03114559, FB-CA-MDL-03114562.

       Finally, Plaintiffs request the documents used to prepare Ms. Lee for her testimony.
Facebook already has identified documents Ms. Lee was prepared to testify about—both in
our May 18 correspondence and above. As Facebook has explained in prior correspondence,
any remaining documents used to prepare Ms. Lee for her testimony are protected by the work-
product doctrine. See, e.g., June 2, 2022 email from A. Schwing to D. Garrie and D. Ko, et al.

       2.      Plaintiffs’ request for additional testimony.

        Your May 26 letter states that Plaintiffs intend to seek additional testimony from
Facebook on several topics, including “how Facebook monetizes data acquired about users by
sharing it, matching it with other data, making it available through APIs, etc.” Plaintiffs had
the opportunity to ask Ms. Lee about this subject at her May 19 deposition but apparently chose
not to do so. Indeed, your May 26 letter does not identify a single question on this subject that
Ms. Lee supposedly was unprepared to answer. Although that alone should preclude further
questioning of Facebook on this topic, we are prepared to meet and confer with you regarding
the nature and scope of the additional testimony Plaintiffs seek.

       Plaintiffs also seek additional testimony relating to “any payments made to third parties
for access or user [sic] of user data (e.g., Onavo, paying data brokers for data, etc.).” As we
have explained above, programs in which Facebook purportedly paid for user data are not
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within the scope of Topic 10, which is about how Facebook monetizes its business through
products that utilize user data—not how third parties monetize data by making it available to
Facebook, or how Facebook compensates users for time associated with completing research
tasks. And to the extent that Plaintiffs seek testimony regarding payments to data brokers,
Facebook has designated a separate witness to address this topic.

        Plaintiffs also seek additional testimony relating to a document “identifying in part the
revenue impact of cutting off access to data to companies identified through the ADI
investigation.” Ms. Lee was prepared to testify about Exhibit 374. However, Plaintiffs
suggested Ms. Lee was unprepared to testify about Exhibit 374 because she could not identify
the specific source of data to calculate the revenue impact of restricting certain third parties’
access to data. See id. at 197:7–22. Testimony about the source(s) of data are outside the
scope of Topic 10, which concerns monetization—not corporate recordkeeping.

        Facebook is available to meet and confer with Plaintiffs, as set forth above, to bring
these issues to a mutually satisfactory resolution.

Sincerely,


GIBSON, DUNN & CRUTCHER LLP



Colin B. Davis

CBD
